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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Flip Clip Technology, LLC                     )
                                              )
v.                                            )       Case No. 18-cv-8545
                                              )
THE PARTNERSHIPS and                          )       Judge: Hon. Andrea R. Wood
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Hon. Susan E. Cox
                                              )
                                              )
                                              )

                                       Voluntary Dismissal

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Flip Clip Technology, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe #     Seller Name                    Seller ID
     18 9048712                           5b6bdd058623c012b7c299a7
     103   guangzhoumanyitechnologyltd    5705fba6d2f7762bfcb2e290
     175   niubashop                      5b67c31a08596d3b6457f8d1
     189   qianlung                       58f4c6c92bb36017022ecee3
     230   sunnyseason                    57e23386458f972e614f1a61
     256   wanghongqi                     576fa9682aba756bc72196af
     313   cnwigs                         cnwigs

Dated: May 24, 2019
                                              Respectfully submitted,


                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
                                                      Law Office of David Gulbransen
                                                      805 Lake Street, Suite 172
                                                      Oak Park, IL 60302
                                                      (312) 361-0825 p.
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                                        (312) 873-4377 f.
                                        david@gulbransenlaw.com




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